       Case 3:21-cv-05227-JD Document 545-1 Filed 03/15/24 Page 1 of 5



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15   Co-Lead Counsel for Consumer Plaintiffs in In re Google Play Consumer Antitrust Litigation

16
                                UNITED STATES DISTRICT COURT
17                            NORTHERN DISTRICT OF CALIFORNIA
                                   SAN FRANCISCO DIVISION
18

19   IN RE GOOGLE PLAY STORE                           Case No. 3:21-md-02981-JD
     ANTITRUST LITIGATION
20
                                                       STIPULATED [PROPOSED] ORDER
21   THIS DOCUMENT RELATES TO:                         GRANTING STATES’ UNOPPOSED
                                                       ADMINISTRATIVE MOTION FOR AN
22   State of Utah et al. v. Google LLC et al.,        EXTENSION OF TIME TO FILE
     Case No. 3:21-cv-05227-JD                         SUPPLEMENTAL BRIEFING AND
23                                                     FOR AN ORDER DIRECTING
     In re Google Play Consumer Antitrust              GOOGLE TO DEPOSIT
24   Litigation, Case No. 3:20-cv-05761-JD             SETTLEMENT FUNDS INTO
                                                       ESCROW
25

26                                                     Judge: Hon. James Donato
27

28                                                                 Case Nos. 3:21-md-02981-JD;
                                                            3:21-cv-05227-JD; 3:20-cv-05761-JD
      STIPULATED [PROPOSED] ORDER GRANTING STATES’ UNOPPOSED ADMINISTRATIVE MOTION
          FOR AN EXTENSION OF TIME TO FILE SUPPLEMENTAL BRIEFING AND FOR AN ORDER
                DIRECTING GOOGLE TO DEPOSIT SETTLEMENT FUNDS INTO ESCROW
         Case 3:21-cv-05227-JD Document 545-1 Filed 03/15/24 Page 2 of 5



 1          Plaintiffs in State of Utah et al. v. Google LLC et al., Case No. 3:21-cv-05227-JD

 2   (“States”), Counsel for the class this Court had originally certified in In re Google Play Consumer

 3   Antitrust Litigation, Case No. 3:20-cv-05761- JD (“Consumer Counsel”), and Defendants

 4   Alphabet Inc., Google LLC, Google Ireland Limited, Google Commerce Limited, Google Asia

 5   Pacific Pte. Limited, and Google Payment Corp. (“Google”) (collectively, the “Settling Parties”),

 6   for reasons stated in the concurrently filed Administrative Motion for an Extension of Time to File

 7   Supplemental Briefing and for an Order Directing Google to Deposit Settlement Funds into

 8   Escrow, respectfully request from the Court (i) a three-week extension to the filing date for the

 9   supplemental briefing requested in the Court’s February 26, 2024 minute order, No. 21-cv-5227,

10   ECF No. 543, and (ii) an order directing Google to deposit Settlement Funds into escrow pending

11   the Court’s decision regarding notice dissemination.

12          The Settling Parties stipulate that the capitalized terms in this Stipulated [Proposed] Order

13   have the meanings ascribed to them in the Settlement Agreement, attached as Exhibit A to the

14   Declaration of Paula L. Blizzard in support of the Motion to Give Notice of Proposed Parens

15   Patriae Settlement filed on December 18, 2023. No. 21-cv-5227, ECF No. 522-2.

16

17   NOW, THEREFORE, IT IS STIPULATED AND AGREED, SUBJECT TO THE

18   APPROVAL OF THE COURT:

19      1. The States and Google will file the supplemental briefs directed by the Court’s February

20          26, 2024 minute order, Dkt. No. 944 in Case No. 21-md-02981, by April 17, 2024.

21      2. Within fifteen (15) days of the issuance of this Stipulated [Proposed] Order, Google shall

22          transfer $1,000,000 into the Settlement Fund Escrow Account for settlement notice and

23          administration.

24      3. Within forty-five (45) days of the issuance of this Stipulated [Proposed] Order, Google

25          shall transfer the additional sum of $629,000,000 into the Settlement Fund Escrow

26          Account.

27      4. Within forty-five (45) of the issuance of this Stipulated [Proposed] Order, Google shall

28                                                   -1-           Case Nos. 3:21-md-02981-JD;
                                                            3:21-cv-05227-JD; 3:20-cv-05761-JD
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        Case 3:21-cv-05227-JD Document 545-1 Filed 03/15/24 Page 3 of 5



 1         transfer $70,000,000 into the States’ Monetary Fund Escrow Account.

 2

 3

 4   DATED: March 15, 2024
                                                       Respectfully submitted,
 5

 6                                                     OFFICE OF THE CALIFORNIA
                                                       ATTORNEY GENERAL
 7
                                                       By:   /s/ Paula L. Blizzard
 8                                                           Paula L. Blizzard
                                                       Counsel for the Plaintiff States
 9

10                                                     BARTLIT BECK LLP
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11                                                     KAPLAN FOX & KILSHEIMER LLP
                                                       Hae Sung Nam
12
                                                       By:   /s/ Karma M. Giulianelli
13                                                           Karma M. Giulianelli
                                                       Co-Lead Counsel for Consumer Plaintiffs in In
14                                                     re Google Play Consumer Antitrust Litigation
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                                                       Kuruvilla Olasa
17
                                                       Jonathan I. Kravis
18                                                     Justin P. Raphael

19                                                     By:    /s/ Glenn D. Pomerantz
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21                                                     Brian C. Rocca
                                                       Sujal J. Shah
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                                                       Michelle Park Chiu
23                                                     Minna Lo Naranjo

24                                                     By:    /s/ Sujal J. Shah
                                                              Sujal J. Shah
25
                                                       Counsel for Defendants Google LLC et al.
26

27

28                                               -2-              Case Nos. 3:21-md-02981-JD;
                                                           3:21-cv-05227-JD; 3:20-cv-05761-JD
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        Case 3:21-cv-05227-JD Document 545-1 Filed 03/15/24 Page 4 of 5



 1                    PURSUANT TO STIPULATION, IT IS SO ORDERED.

 2
     Dated: _________________________               _________________________________
 3
                                                    United States District Judge
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28                                            -3-                 Case Nos. 3:21-md-02981-JD;
                                                           3:21-cv-05227-JD; 3:20-cv-05761-JD
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         Case 3:21-cv-05227-JD Document 545-1 Filed 03/15/24 Page 5 of 5



 1                                      E-FILING ATTESTATION

 2          I, Brian Wang, am the ECF User whose ID and password are being used to file this

 3   document. In compliance with Civil Local Rule 5-1(i)(3), I hereby attest that each signatory

 4   identified above has concurred in this filing.

 5                                                          /s/ Brian Wang
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28                                                    -4-          Case Nos. 3:21-md-02981-JD;
                                                            3:21-cv-05227-JD; 3:20-cv-05761-JD
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